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 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   THE UNITED STATES OF                      ) Case No. 2:12-CR-0389 GEB
                                               )
12   AMERICA,                                  ) [PROPOSED] ORDER GRANTING
                                               ) BLANKET PERMISSION TO
13                Plaintiff,                   ) TRAVEL FOR WORK
                                               )
14         vs.                                 )
                                               )
15   SHAY DIN ALTIT,                           )
                                               )
16                Defendants.                  )
                                               )
17

18
           GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
19
     that defendant, Shay Din Altit shall be granted a blanket permission to travel
20
     within the United States and internationally for the purposes of work subject to the
21
     approval of his Probation Officer. Mr. Altit shall contact his Probation Officer two
22
     weeks prior to his departure for any trip to advise his itinerary. All other terms and
23
     conditions of Mr. Altit’s probation shall remain intact.
24
     IT IS SO ORDERED.
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     Dated: October 23, 2014
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